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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

      1. MICHAEL AARON TEW and
      2. KIMBERLEY ANN TEW,
         a/ka Kimberley Vertanen,

        Defendants.



               GOVERNMENT’S LIST OF PROPOSED WITNESSES


        The government hereby submits its preliminary list of proposed witnesses,

 along with estimates of the length of their testimony on direct examination. The

 government reserves the right, with reasonable notice depending on the

 circumstances, to call additional witnesses should a need arise during trial or based

 on rulings made at the pretrial conference. The government also reserves the right




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 to submit a revised witness list as it continues to prepare testimony and develops

 better estimates of the time needed for direct examinations.

              Respectfully submitted this 25th day of January, 2024.

                                                COLE FINEGAN
                                                United States Attorney

  By: /s/ Bryan Fields                        By: /s/ Sarah H. Weiss
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                             CERTIFICATE OF SERVICE


       I hereby certify that on this 25th day of January, 2024, I electronically filed

 the foregoing with the Clerk of the Court using the CM/ECF system which will send

 notification to all counsel of record




                                                 By:   /s Bryan Fields
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